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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 IN RE:

 MOUNTAIN EXPRESS OIL COMPANY, et al.,             Case No. 23-90147
     Debtors.                                      Chapter 11
                                                   (Jointly Administered)


   SHIV KTR, LLC AND KEYUR RASIKBHAI PATEL’S EMERGENCY MOTION TO
    MODIFY THE AUTOMATIC STAY TO PERMIT SHIV KTR, LLC AND KEYUR
      RASIKBHAI PATEL TO PURCHASE FUEL AND FOR RELATED RELIEF

       THIS MOTION SEEKS AND ORDER THAT MAY ADVERSELY AFFECT
       YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
       CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU
       AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A
       RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST FILE
       AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS
       SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE MOTION
       SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE,
       THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE FROM
       YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN
       AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE
       PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE
       AT THE HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

       REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

       EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT
       CONSIDERS THE MOTION ON AN EMERGENCY BASIS, THEN YOU WILL
       HAVE LESS THAN 21 DAYS TO ANSWER. IF YOU OBJECT TO THE
       REQUESTED RELIEF OR IF YOU BELIEVE THAT THE EMERGENCY
       CONSIDERATION IS NOT WARRANTED, YOU SHOULD FILE AN
       IMMEDIATE RESPONSE.

       SHIV KTR, LLC AND KEYUR RASIKBHAI PATEL ARE REQUESTING
       RELIEF BY NO LATER THAN 5:00 PM ON AUGUST 24, 2023.




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TO THE HONORABLE DAVID R. JONES,
UNITED STATES BANKRUPTCY JUDGE:

         SHIV KTR, LLC and Keyur Rasikbhai Patel (collectively “SHIV KTR”) file this

Emergency Motion to Modify the Automatic Stay to Permit SHIV KTR to Purchase Fuel from

third parties and for Related Relief (the “Emergency Motion”), and in support thereof respectfully

state as follows:

                         SUMMARY OF MOTION AND RELIEF REQUESTED

         1.        The Debtors have been unable to supply fuel consistently to SHIV KTR’s location

since before this bankruptcy case was filed. SHIV KTR requests entry of an order modifying the

automatic stay (to the extent necessary) to authorize the purchase of fuel from non-debtor suppliers

and authorizing the disconnection of the Debtors’ payment processing machines. Emergency

consideration is requested because without an immediate and reliable source of fuel and access to

fuel sales proceeds, SHIV KTR could be forced to cease operations.

                                    JURISDICTION AND VENUE

         2.        This Court has jurisdiction to hear this matter pursuant to 28 U.S.C. § 1334 and the

standing order of reference from the District Court. This proceeding is a core proceeding under 28

U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                     FACTUAL BACKGROUND

         3.        On or about September 9, 2020, SHIV KTR executed the attached Fuel Supply

Agreement on a commission basis with Debtor Mountain Express Oil Company covering the

following location:

                   Store # 550           1510 Highway 72 East, Athens, Alabama 35611




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         That agreement was later amended by a First Amendment of Fuel Supply Agreement dated

May 11, 2021 and a Second Amendment to Fuel Supply Agreement dated December 2, 2022, also

attached. The Second Amendment converted the commission agreement to a “100% Fuel”

agreement whereby Mountain Express would supply fuel essentially on a consignment basis to

SHIV KTR.           The Fuel Supply Agreement, as amended, shall be referred to herein as the

“Agreement”.

         4.        The Agreement contains the following relevant terms in Section 21 with respect to

the Supplier (Debtor)’s obligations to deliver fuel:

                   Supplier will fill all orders with reasonable promptness,…

                If Supplier is unable to deliver products for more than seventy two (72)
         hours, Dealer shall have the right to purchase products from other suppliers until
         such time as Supplier can recommence delivery.

         5.        As noted above, the Debtors have been inconsistent in their ability to deliver fuel

to SHIV KTR since before these bankruptcies were filed. As a result, SHIV KTR’s business has

been substantially harmed and its value has deteriorated. While Debtor did deliver fuel on August

10, SHIV KTR has been advised by the hauler for Debtor that there will be no further deliveries

from Debtor. SHIV KTR will run out of fuel August 21 or 22 without immediate deliveries.

         6.        Without fuel or sales proceeds, SHIV KTR will suffer severe economic losses.

         7.        Because SHIV KTR has the contractual right to purchase fuel elsewhere when the

Debtor does not deliver, it is unclear if the automatic stay would prohibit such action. However,

Debtor’s former counsel had previously indicated that Debtor considered any third party fuel

purchases to be a stay violation. Accordingly, out of an abundance of caution, SHIV KTR seeks

emergency modification of the stay, to the extent necessary, so that it can purchase fuel elsewhere



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and disconnect from the Debtor’s credit card system in order to ensure that SHIV KTR promptly

receives the proceeds from the sale of such fuel.

         8.        Additionally, Store 550 is branded as an Exxon station. SHIV KTR needs to be

able to buy Exxon fuel in order to comply with branding requirements. However, Exxon will not

sell fuel to SHIV KTR because of the Debtor’s contracts with Exxon covering these locations.

Accordingly, SHIV KTR requests additional stay relief to the extent necessary to enter into

temporary contracts to acquire Exxon fuel, irrespective of the Debtor’s contracts.

         9.        SHIV KTR will account and pay for all fuel previously received from the Debtor

on a consignment basis.



                                 ARGUMENT AND AUTHORITIES

         9.        Section 362(d)(1) of the Bankruptcy Code provides that the automatic stay shall be

modified for cause. The “cause” standard under Section 362(d)(1) is broad and flexible, giving

the Court discretion to determine what constitutes sufficient cause to warrant relief from the

automatic stay. In re Texas State Optical, Inc., 188 B.R. 552, 556 (Bankr. E.D. Tex. Sept. 13, 1995)

(citing In re Sentry Park, Ltd., 87 B.R. 427,430 (Bankr. W.D. Tex. 1988)). Whether cause exists

must be decided on a case-by-case basis. See In re Xenon Anesthesia of Texas, PLLC, 510 B.R.

106, 112 (Bankr. S.D. Tex. May 5, 2014).

         10.       SHIV KTR desperately needs fuel for its Locations. Without fuel, customers will

simply go to a competitor with fuel in stock. As a result, SHIV KTR will not only lose revenues

from fuel sales, but will also lose revenue from the sale of other products inside like sodas,

cigarettes, candy, etc. that generate a majority of SHIV KTR’s gross profits.



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         11.       SHIV KTR cannot sustain its business without fuel and estimates that it will lose

tens of thousands of dollars if it runs out of fuel. These losses will, at some point, put SHIV KTR

out of business.

         12.       SHIV KTR is, therefore, requesting that the stay be modified to the extent necessary

in order to: (i) purchase fuel from a non-debtor fuel provider for its Locations; (ii) allow SHIV

KTR to purchase Exxon branded fuel despite the Debtor’s contracts and (iii) use any reasonable

means necessary to facilitate the purchase of fuel from another provider, including the

disconnection of the Debtors’ credit card processing machines and black boxes.

         12.       SHIV KTR is requesting emergency relief because each day without fuel is

extremely detrimental to its business.

         13.       SHIV KTR does not believe Debtors will be harmed by this relief because Debtor

has no ability to deliver fuel at this time. Debtors will not lose revenues from the sale of fuel that

they are incapable of providing.

                                            CONCLUSION

         WHEREFORE, for the reasons stated above, SHIV KTR respectfully requests that this

Court: (i) grant this Motion by: (a) modifying the automatic stay to allow SHIV KTR to purchase

fuel from another provider for its Locations, (b) allowing SHIV KTR to purchase Exxon branded

fuel despite the Debtor’s contracts and (c) permitting SHIV KTR to use any reasonable means

necessary to facilitate the purchase of fuel from non-debtor entities, including the disconnection

of the Debtors’ credit card processing machines and black boxes; and (ii) grant any other just and/or

equitable relief to which SHIV KTR is entitled.




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                                                   Respectfully submitted,


                                                   /s/ Tami J. Hines
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                                                   Email: thines@hallestill.com
                                                   Email: lball@hallestill.com
                                                    ATTORNEY FOR CREDITOR
                                                   SHIV KTR, LLC



                                CERTIFICATE OF SERVICE

       I hereby certify that on August 22, 2023, a true and correct copy of the above and foregoing
was electronically served using the CM/ECF system to all CM/ECF registrants appearing in the
above-styled matter.



                                                           /s/ Tami J. Hines ____________
                                                            Tami J. Hines




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